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 4
                                   UNITED STATES DISTRICT COURT
 5                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 6
      TORRIE MAYFEILD, on behalf of her minor child, A.M.,
 7    and on behalf of all others similarly situated,                   Case No.: 2:25-at-00080

 8                    Plaintiff,
                                                                                CLASS ACTION
 9              v.                                                               COMPLAINT

10    POWERSCHOOL GROUP LLC and POWERSCHOOL                                   Jury Trial Demanded
      HOLDINGS, INC.,
11
                      Defendants.
12

13          Plaintiff TORRIE MAYFEILD, on behalf of her minor child, A.M., (“Plaintiff”), and on behalf of
14   all others similarly situated (“Plaintiff”), brings this class action against Defendants POWERSCHOOL
15   GROUP LLC AND POWERSCHOOL HOLDINGS, INC. (collectively, “Defendants”), and alleges as
16   follows:

17                                       JURISDICTION AND VENUE

18          1.       This Court has subject-matter jurisdiction pursuant to the Class Action Fairness Act, 28

19   U.S.C. § 1332(d) because (1) the matter in controversy exceeds the sum or value of $5,000,000, exclusive

20   of interest and costs, (2) the action is a class action, (3) there are members of the proposed Class who are

21   diverse from Defendants, and (4) there are more than 100 proposed Class members. This Court has

22   supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367 because they form part of

23   the same case or controversy as the claims within the Court’s original jurisdiction.

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 1             2.     This Court has personal jurisdiction over Defendants because each Defendant maintains a

 2   principal place of business in this District and Defendants conduct substantial business in this District.

 3             3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) & (2) because each

 4   Defendants is a resident and citizen of this District and a substantial part of the events or omissions giving

 5   rise to Plaintiff’s claims occurred in this district.

 6                                                      PARTIES

 7             4.     Plaintiff Torrie Mayfeild is a resident and citizen of Licking, Missouri, where she intends

 8   to remain. Plaintiff is the parent of minor A.M. In connection with A.M.’s educational services, Plaintiff

 9   provided PII to one of Defendant’s clients.

10             5.     Defendant PowerSchool Group LLC is a limited liability company registered in the State

11   of Delaware, and maintains its principal place of business at 150 Parkshore Drive, Folsom, California.

12             6.     Defendant PowerSchool Holdings, Inc. corporation registered in the State of Delaware, and

13   maintains its principal place of business at 150 Parkshore Drive, Folsom, California.

14                                           FACTUAL ALLEGATIONS

               Defendants’ Business
15
               7.     Defendants represent that its business “is a leading provider of cloud-based software in K-
16
     12 education in North America. We connect students, teachers, administrators, and families with the
17
     shared goal of improving student outcomes.”1
18
               8.     Defendants claims that “As a provider of innovative K-12 software and cloud-based
19
     solutions to improve educational outcomes and simplify school operations, central to our operations is the
20
     processing of personal data, PowerSchool places great importance and value on the proper handling of
21
     personal data that flows within our product as we provide services to our customers. We use the following
22

23   1
         https://www.powerschool.com/company/ (last accessed Jan. 14, 2025)
24                                                    -2-
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 1   Privacy Principles as a guide, and they inform our approach to data privacy and data protection throughout

 2   PowerSchool.”2

 3           9.      Defendants further represent that “We seek to protect our customers’ personal data from

 4   unauthorized access, use, modification, disclosure, loss, or theft by leveraging various reasonable security

 5   measures and methods to secure our customers’ personal data throughout its processing lifecycle with

 6   PowerSchool applications. Our overall aim is to ensure the confidentiality, integrity, and availability of

 7   our customers’ personal data by leveraging technical, organizational, and where appropriate, physical

 8   security methods. Security protection at PowerSchool is a cross-functional activity that intersects our

 9   workforce duties, and we have relevant security and privacy policies to drive expectations from the

10   workforce.” 3

11           10.     Plaintiff and Class members are consumers who have provided their information to

12   Defendants’ clients.

13           11.     Plaintiff and Class members, by and through Defendants’ clients, provided certain

14   Personally Identifying Information (“PII”) to Defendants.

15           12.     As a sophisticated company with an acute interest in maintaining the confidentiality of the

16   PII entrusted to it, Defendants are well-aware of the numerous data breaches that have occurred throughout

17   the United States and their responsibility for safeguarding PII in their possession.

18           The Data Breach

             13.     According to an email notice received by Plaintiff from one of Defendant’s clients, it was
19
     “On December 28, 2024 PowerSchool detected unauthorized access to certain customer data.”4
20

21
     2
22     https://www.powerschool.com/privacy/ (last accessed Jan. 14, 2025)
     3
       Id.
     4
23     See “RE: Important Security Notification. Please read this entire letter.” email dated 1/10/2025 sent to Plaintiff,
     attached hereto as Exhibit 1. (“Notice Email”).
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 1            14.    The Notice Email indicates that Defendants’ client had been informed that PII had been

 2   impacted.5

 3            15.    The Notice Email did not indicate why Defendants were unable to prevent the Data Breach

 4   or which security feature failed.6

 5            16.    The Notice Email did not state why Defendants did not notify this client, among others,

 6   until January 7, 2025.7

 7            17.    Defendants failed to prevent the data breach because they did not adhere to commonly

 8   accepted security standards and failed to detect that their databases were subject to a security breach.

 9            Injuries to Plaintiff and the Class

10            18.    On January 10, 2024, Plaintiff received the Notice Email from one of Defendants’ clients,

11   wherein she was advised that PII that had been provided to said client was compromised during the Data

12   Breach.8

13            19.    Since the Data Breach, Plaintiff has received an increase in phishing emails and spam

14   texts.

15            20.    In response to the Data Breach, Plaintiff has spent significantly more time checking her

16   bank and credit card statements than he did prior to the Data Breach.

17            21.    Plaintiff is very concerned about the theft of her PII and has and will continue to spend

18
     substantial amounts of time and energy monitoring her credit status.

              22.    As a direct and proximate result of Defendants’ actions and omissions in failing to protect
19
     Plaintiff’s PII, Plaintiff and the Class have been damaged.
20

21
     5
22     Id.
     6
       Id.
     7
23     Id.
     8
       Id.
24                                                   -4-
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 1           23.     Plaintiff and the Class have been placed at a substantial risk of harm in the form of credit

 2   fraud or identity theft and have incurred and will likely incur additional damages, including spending

 3   substantial amounts of time monitoring accounts and records, in order to prevent and mitigate credit fraud,

 4   identity theft, and financial fraud.

 5           24.     In addition to the irreparable damage that may result from the theft of PII, identity theft

 6   victims must spend numerous hours and their own money repairing the impacts caused by this breach.

 7   After conducting a study, the Department of Justice’s Bureau of Justice Statistics found that identity theft

 8   victims “reported spending an average of about 7 hours clearing up the issues” and resolving the

 9   consequences of fraud in 2014.9

10           25.     In addition to fraudulent charges and damage to their credit, Plaintiff and the Class will

11   spend substantial time and expense (a) monitoring their accounts to identify fraudulent or suspicious

12   charges; (b) cancelling and reissuing cards; (c) purchasing credit monitoring and identity theft prevention

13   services; (d) attempting to withdraw funds linked to compromised, frozen accounts; (e) removing

14   withdrawal and purchase limits on compromised accounts; (f) communicating with financial institutions

15   to dispute fraudulent charges; (g) resetting automatic billing instructions and changing passwords; (h)

16   freezing and unfreezing credit bureau account information; (i) cancelling and re-setting automatic

17   payments as necessary; and (j) paying late fees and declined payment penalties as a result of failed

18   automatic payments.

19           26.     Additionally, Plaintiff and the Class have suffered or are at increased risk of suffering from,

20   inter alia, the loss of the opportunity to control how their PII is used, the diminution in the value and/or

21   use of their PII entrusted to Defendant, and loss of privacy.

22

23
     9
          U.S.   Dep’t     of    Justice,    Victims    of    Identity   Theft,    2014     (Nov.    13,     2017),
     http://www.bjs.gov/content/pub/pdf/vit14.pdf.
24                                                     -5-
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 1          The Value of PII

 2          27.     It is well known that PII, and financial account information in particular, is an invaluable

 3   commodity and a frequent target of hackers.

 4          28.     According to Javelin Strategy & Research, in 2017 alone over 16.7 million individuals

 5   were affected by identity theft, causing $16.8 billion to be stolen.10

 6          29.     People place a high value not only on their PII, but also on the privacy of that data. This is

 7   because identity theft causes “significant negative financial impact on victims” as well as severe distress

 8   and other strong emotions and physical reactions.11

 9          30.     People are particularly concerned with protecting the privacy of their financial account

10   information and social security numbers, which are the “secret sauce” that is “as good as your DNA to

11   hackers.”12 There are long-term consequences to data breach victims whose social security numbers are

12   taken and used by hackers. Even if they know their social security numbers have been accessed, Plaintiff

13   and Class members cannot obtain new numbers unless they become a victim of social security number

14   misuse. Even then, the Social Security Administration has warned that “a new number probably won’t

15   solve all [] problems … and won’t guarantee … a fresh start.”13

16

17

18

19   10
        Javelin Strategy & Research, Identity Fraud Hits All Time High With 16.7 Million U.S. Victims in 2017,
     According to New Javelin Strategy & Research Study (Feb. 6, 2018), https://www.javelinstrategy.com/press-
20   release/identity-fraud-hits-all-time-high-167-million-us-victims-2017-according-new-javelin.
     11
             Identity     Theft        Resource    Center,       Identity    Theft:     The      Aftermath     2017,
21   https://www.ftc.gov/system/files/documents/public_comments/2017/10/00004-141444.pdf.
     12
        Cameron Huddleston, How to Protect Your Kids From the Anthem Data Breach, Kiplinger, (Feb. 10, 2015),
22   https://www.kiplinger.com/article/credit/T048-C011-S001-how-to-protect-your-kids-from-the-anthem-data-
     brea.html.
     13
23      Social Security Admin., Identity Theft and Your Social Security Number, at 6-7, https://www.ssa.gov/pubs/EN-
     05-10064.pdf.
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 1           Industry Standards for Data Security

 2           31.     In light of the numerous high-profile data breaches targeting companies like Target,

 3   Neiman Marcus, eBay, Anthem, Deloitte, Equifax, and Capital One, Defendants are, or reasonably should

 4   have been, aware of the importance of safeguarding PII, as well as of the foreseeable consequences of

 5   their systems being breached.

 6           32.     Security standards commonly accepted among businesses that store PII using the internet

 7   include, without limitation:

 8                   a. Maintaining a secure firewall configuration;

 9                   b. Monitoring for suspicious or irregular traffic to servers;

                     c. Monitoring for suspicious credentials used to access servers;
10
                     d. Monitoring for suspicious or irregular activity by known users;
11
                     e. Monitoring for suspicious or unknown users;
12
                     f. Monitoring for suspicious or irregular server requests;
13
                     g. Monitoring for server requests for PII;
14
                     h. Monitoring for server requests from VPNs; and
15
                     i. Monitoring for server requests from Tor exit nodes.
16
             33.     The U.S. Federal Trade Commission (“FTC”) publishes guides for businesses for
17
     cybersecurity14 and protection of PII15 which includes basic security standards applicable to all types of
18   businesses.
19           34.     The FTC recommends that businesses:
20                   a. Identify all connections to the computers where you store sensitive information.
21
     14
22      Start with Security: A Guide for Business, FTC (June 2015), https://www.ftc.gov/system/files/documents/plain-
     language/pdf0205-startwithsecurity.pdf.
     15
23          Protecting     Personal    Information:     A     Guide      for   Business,     FTC      (Oct.   2016),
     https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting personalinformation.pdf.
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 1                  b. Assess the vulnerability of each connection to commonly known or reasonably
                       foreseeable attacks.
 2
                    c. Do not store sensitive consumer data on any computer with an internet connection
 3                     unless it is essential for conducting their business.

 4                  d. Scan computers on their network to identify and profile the operating system and open
                       network services. If services are not needed, they should be disabled to prevent hacks
 5                     or other potential security problems. For example, if email service or an internet
                       connection is not necessary on a certain computer, a business should consider closing
 6                     the ports to those services on that computer to prevent unauthorized access to that
                       machine.
 7
                    e. Pay particular attention to the security of their web applications—the software used to
 8                     give information to visitors to their websites and to retrieve information from them.
                       Web applications may be particularly vulnerable to a variety of hack attacks
 9
                    f. Use a firewall to protect their computers from hacker attacks while it is connected to a
                       network, especially the internet.
10
                    g. Determine whether a border firewall should be installed where the business’s network
11                     connects to the internet. A border firewall separates the network from the internet and
                       may prevent an attacker from gaining access to a computer on the network where
12                     sensitive information is stored. Set access controls—settings that determine which
                       devices and traffic get through the firewall—to allow only trusted devices with a
13                     legitimate business need to access the network. Since the protection a firewall provides
                       is only as effective as its access controls, they should be reviewed periodically.
14
                    h. Monitor incoming traffic for signs that someone is trying to hack in. Keep an eye out
15                     for activity from new users, multiple log-in attempts from unknown users or computers,
                       and higher-than-average traffic at unusual times of the day.
16
                    i. Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly large
17                     amounts of data being transmitted from their system to an unknown user. If large
                       amounts of information are being transmitted from a business’ network, the
18                     transmission should be investigated to make sure it is authorized.

19          35.     The FTC has brought enforcement actions against businesses for failing to adequately and

20   reasonably protect customer information, treating the failure to employ reasonable and appropriate

21
     measures to protect against unauthorized access to confidential consumer data as an unfair act or practice

22

23

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 1   prohibited by Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45. Orders resulting from these

 2   actions further clarify the measures businesses must take to meet their data security obligations.16

 3          36.       Because Defendants were entrusted with consumers’ PII, they had, and have, a duty to

 4   consumers to keep their PII secure.

 5          37.       Consumers, such as Plaintiff and the Class, reasonably expect that when they provide PII

 6   to companies such as Defendants, that their PII will be safeguarded.

 7          38.       Nonetheless, Defendants failed to prevent the Data Breach. Had Defendants properly

 8   maintained and adequately protected their systems, they could have prevented the Data Breach.

 9                                       CLASS ACTION ALLEGATIONS

10          39.       Plaintiff, individually and on behalf of all others, brings this class action pursuant to Fed.

11   R. Civ. P. 23.

12          40.       The proposed Class is defined as follows:

13                    Nationwide Class: All persons whose PII was maintained on Defendants’
                      servers and compromised in the Data Breach.
14
            41.       Plaintiff reserves the right to modify, change, or expand the definitions of the proposed
15
     Class based upon discovery and further investigation.
16
            42.       Numerosity: The proposed Class is so numerous that joinder of all members is
17
     impracticable. Although the precise number is not yet known to Plaintiff, the number can be readily
18
     identified through Defendants’ records.
19          43.       Commonality: Questions of law or fact common to the Class include, without limitation:
20                    a. Whether Defendants owed a duty or duties to Plaintiff and the Class to exercise due
                         care in collecting, storing, safeguarding, and obtaining their PII;
21

22
     16
23     Federal Trade Commission, Privacy and Security Enforcement: Press Releases, https://www.ftc.gov/news-
     events/media-resources/protecting-consumer-privacy/privacy-security-enforcement.
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 1                  b. Whether Defendants breached that duty or those duties;

 2                  c. Whether Defendants failed to establish appropriate administrative, technical, and
                       physical safeguards to ensure the security and confidentiality of records to protect
 3                     against known and anticipated threats to security;

 4                  d. Whether the security provided by Defendants was satisfactory to protect customer
                       information as compared to industry standards;
 5
                    e. Whether Defendants misrepresented or failed to provide adequate information to
 6                     customers regarding the type of security practices used;

                    f. Whether Defendants knew or should have known that they did not employ reasonable
 7
                       measures to keep Plaintiff’s and the Class’s PII secure and prevent loss or misuse of
                       that PII;
 8
                    g. Whether Defendants acted negligently in connection with the monitoring and
 9                     protecting of Plaintiff’s and Class’s PII;
10                  h. Whether Defendants’ conduct was intentional, willful, or negligent;

11                  i. Whether Defendants violated any and all statutes and/or common law listed herein;

12                  j. Whether the Class suffered damages as a result of Defendants’ conduct, omissions, or
                       misrepresentations; and
13
                    k. Whether the Class is entitled to injunctive, declarative, and monetary relief as a result
14                     of Defendants’ conduct.

            44.     Typicality: The claims or defenses of Plaintiff are typical of the claims or defenses of the
15
     Class. Class members were injured and suffered damages in substantially the same manner as Plaintiff,
16
     Class members have the same claims against Defendants relating to the same course of conduct, and Class
17
     members are entitled to relief under the same legal theories asserted by Plaintiff.
18
            45.     Adequacy: Plaintiff will fairly and adequately protect the interests of the proposed Class
19
     and has no interests antagonistic to those of the proposed Class. Plaintiff has retained counsel experienced
20
     in the prosecution of complex class actions including, but not limited to, data breaches.
21
            46.     Predominance: Questions of law or fact common to proposed Class members predominate
22
     over any questions affecting only individual members. Common questions such as whether Defendants
23

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 1   owed a duty to Plaintiff and the Class and whether Defendants breached their duties predominate over

 2   individual questions such as measurement of economic damages.

 3           47.     Superiority: A class action is superior to other available methods for the fair and efficient

 4   adjudication of these claims because individual joinder of the claims of the Class is impracticable. Many

 5   members of the Class are without the financial resources necessary to pursue this matter. Even if some

 6   members of the Class could afford to litigate their claims separately, such a result would be unduly

 7   burdensome to the courts in which the individualized cases would proceed. Individual litigation increases

 8   the time and expense of resolving a common dispute concerning Defendants’ actions toward an entire

 9   group of individuals. Class action procedures allow for far fewer management difficulties in matters of

10   this type and provide the unique benefits of unitary adjudication, economies of scale, and comprehensive

11   supervision over the entire controversy by a single judge in a single court.

12           48.     Manageability: Plaintiff is unaware of any difficulties that are likely to be encountered in

13   the management of this action that would preclude its maintenance as a class action.

14           49.     The Class may be certified pursuant to Rule 23(b)(2) because Defendants have acted on

15   grounds generally applicable to the Class, thereby making appropriate final injunctive relief or

16   corresponding declaratory relief with respect to the Class as a whole.

17           50.     The Class may also be certified pursuant to Rule 23(b)(3) because questions of law and

18   fact common to the Class will predominate over questions affecting individual members, and a class action

19   is superior to other methods for fairly and efficiently adjudicating the controversy and causes of action

20   described in this Complaint.

21           51.     Particular issues under Rule 23(c)(4) are appropriate for certification because such claims

22   present particular, common issues, the resolution of which would advance the disposition of this matter

23
     and the parties’ interests therein.

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 1                                            CAUSES OF ACTION

 2                                             COUNT I
                                   NEGLIGENCE/ NEGLIGENCE PER SE
 3                                       (on behalf of the Class)

 4          52.     Plaintiff repeats, re-alleges, and incorporates by reference, paragraphs 1 through 51 of this

 5   complaint.

 6          53.     Defendants owed a duty of care to Plaintiff and Class members to use reasonable means to

 7   secure and safeguard the entrusted PII, to prevent its unauthorized access and disclosure, to guard it from

 8   theft, and to detect any attempted or actual breach of their systems. These common law duties existed

 9   because Plaintiff and Class members were the foreseeable and probable victims of any inadequate security

10   practices. In fact, not only was it foreseeable that Plaintiff and Class members would be harmed by the

11   failure to protect their PII because hackers routinely attempt to steal such information and use it for

12   nefarious purposes, but Defendants knew that they were more likely than not Plaintiff and Class members

13   would be harmed by such exposure of their PII.

            54.     Defendants’ duties to use reasonable data security measures also arose under Section 5 of
14
     the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, which prohibits “unfair . . . practices in
15
     or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of failing
16
     to use reasonable measures to protect PII. Various FTC publications and data security breach orders further
17
     form the basis of Defendants’ duties. In addition, individual states have enacted statutes based upon the
18
     FTC Act that also created a duty.
19
            55.     Defendants’ violations of Section 5 of the FTC Act constitute negligence per se.
20
            56.     Defendants breached the aforementioned duties when they failed to use security practices
21
     that would protect the PII provided to it by Plaintiff and Class members, thus resulting in unauthorized
22
     third-party access to the Plaintiff’s and Class members’ PII.
23

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 1          57.     Defendants further breached the aforementioned duties by failing to design, adopt,

 2   implement, control, manage, monitor, update, and audit their processes, controls, policies, procedures, and

 3   protocols to comply with the applicable laws and safeguard and protect Plaintiff’s and Class members’

 4   PII within their possession, custody, and control.

 5          58.     As a direct and proximate cause of failing to use appropriate security practices, Plaintiff’s

 6   and Class members’ PII was disseminated and made available to unauthorized third parties.

 7          59.     Defendants admitted that Plaintiff’s and Class members’ PII was wrongfully disclosed as

 8   a result of the breach.

 9          60.     The breach caused direct and substantial damages to Plaintiff and Class members, as well

10   as the possibility of future and imminent harm through the dissemination of their PII and the greatly

11   enhanced risk of credit fraud or identity theft.

12          61.     By engaging in the forgoing acts and omissions, Defendants committed the common law

13   tort of negligence. For all the reasons stated above, Defendants’ conduct was negligent and departed from

14   reasonable standards of care including by, but not limited to: failing to adequately protect the PII; failing

15   to conduct regular security audits; and failing to provide adequate and appropriate supervision of persons

16   having access to Plaintiff’s and Class members’ PII.

17          62.     But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiff and the

18   Class, their PII would not have been compromised.

19          63.     Neither Plaintiff nor the Class contributed to the breach or subsequent misuse of their PII

20   as described in this Complaint. As a direct and proximate result of Defendants’ actions and inactions,

21   Plaintiff and the Class have been put at an increased risk of credit fraud or identity theft, and Defendants

22   have an obligation to mitigate damages by providing adequate credit and identity monitoring services.

23
     Defendants are liable to Plaintiff and the Class for the reasonable costs of future credit and identity

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 1   monitoring services for a reasonable period of time, substantially in excess of one year. Defendants are

 2   also liable to Plaintiff and the Class to the extent that they have directly sustained damages as a result of

 3   identity theft or other unauthorized use of their PII, including the amount of time Plaintiff and the Class

 4   have spent and will continue to spend as a result of Defendants’ negligence. Defendants are also liable to

 5   Plaintiff and the Class to the extent their PII has been diminished in value because Plaintiff and the Class

 6   no longer control their PII and to whom it is disseminated.

 7                                                  COUNT II
                                            INVASION OF PRIVACY
 8                                            (on behalf of the Class)

 9          64.     Plaintiff repeats, re-alleges, and incorporates by reference, paragraphs 1 through 51 of this

10   complaint.

11          65.     Plaintiff and Class members have objective reasonable expectations of solitude and

12   seclusion in their personal and private information and the confidentiality of the content of personal

13   information and non-public medical information.

14          66.     Defendants invaded Plaintiff’s and the Class’s right to privacy by allowing the

15   unauthorized access to their PII and by negligently maintaining the confidentiality of Plaintiff’s and the

16   Class’s PII, as set forth above.

17          67.     The intrusion was offensive and objectionable to Plaintiff, the Class, and to a reasonable

18
     person of ordinary sensibilities in that Plaintiff’s and the Class’s PII was disclosed without prior written

     authorization from Plaintiff and the Class.
19
            68.     The intrusion was into a place or thing which was private and is entitled to be private, in
20
     that Plaintiff and the Class provided and disclosed their PII to Defendants privately with an intention that
21
     the PII would be kept confidential and protected from unauthorized disclosure. Plaintiff and the Class
22

23

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 1   were reasonable to believe that such information would be kept private and would not be disclosed without

 2   their written authorization.

 3          69.     As a direct and proximate result of Defendants’ above acts, Plaintiff’s and the Class’s PII

 4   was viewed, distributed, and used by persons without prior written authorization and Plaintiff and the

 5   Class suffered damages as described herein.

 6          70.     Defendants are guilty of oppression, fraud, or malice by permitting the unauthorized

 7   disclosure of Plaintiff’s and the Class’s PII with a willful and conscious disregard of their right to privacy.

 8          71.     Unless and until enjoined, and restrained by order of this Court, Defendants’ wrongful

 9   conduct will continue to cause Plaintiff and the Class great and irreparable injury in that the PII maintained

10   by Defendants can be viewed, printed, distributed, and used by unauthorized persons. Plaintiff and the

11   Class have no adequate remedy at law for the injuries in that a judgment for the monetary damages will

12   not end the invasion of privacy for Plaintiff and the Class, and Defendants may freely treat Plaintiff’s and

13   the Class’s PII with sub-standard and insufficient protections.

14                                                 COUNT III
                                             UNJUST ENRICHMENT
15                                            (on behalf of the Class)

16          72.     Plaintiff repeats, re-alleges, and incorporates by reference, paragraphs 1 through 51 of this

17   complaint.

18
            73.     Plaintiff and the Class have an interest, both equitable and legal, in their PII that was

     conferred upon, collected by, and maintained by Defendants and that was ultimately compromised in the
19
     data breach.
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            74.     Defendants, by way of their acts and omissions, knowingly and deliberately enriched
21
     themselves by saving the costs they reasonably should have expended on security measures to secure
22
     Plaintiff’s and the Class’s PII.
23

24                                                  -15-
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 1           75.     Defendants also understood and appreciated that the PII pertaining to Plaintiff and the Class

 2   was private and confidential and its value depended upon Defendants maintaining the privacy and

 3   confidentiality of that PII.

 4           76.     Instead of providing for a reasonable level of security that would have prevented the

 5   breach—as is common practice among companies entrusted with such PII—Defendants instead

 6   consciously and opportunistically calculated to increase their own profits at the expense of Plaintiff and

 7   the Class. Nevertheless, Defendants continued to obtain the benefits conferred on them by Plaintiff and

 8   the Class. The benefits conferred upon, received, and enjoyed by Defendants were not conferred

 9   officiously or gratuitously, and it would be inequitable and unjust for Defendants to retain these benefits.

10           77.     Plaintiff and the Class, on the other hand, suffered as a direct and proximate result. As a

11   result of Defendants’ decision to profit rather than provide requisite security, and the resulting breach

12   disclosing Plaintiff’s and the Class’s PII, Plaintiff and the Class suffered and continue to suffer

13   considerable injuries in the forms of, inter alia, attempted identity theft, time and expenses mitigating

14   harms, diminished value of PII, loss of privacy, and increased risk of harm.

15           78.     Thus, Defendants engaged in opportunistic conduct in spite of their duties to Plaintiff and

16   the Class, wherein they profited from interference with Plaintiff’s and the Class’s legally protected

17   interests. As such, it would be inequitable, unconscionable, and unlawful to permit Defendants to retain

18   the benefits they derived as a consequence of their conduct.

19           79.     Accordingly, Plaintiff, on behalf of himself and the Class, respectfully request that this

20   Court award relief in the form of restitution or disgorgement in the amount of the benefit conferred on

21   Defendants as a result of their wrongful conduct, including specifically, the amounts that Defendants

22   should have spent to provide reasonable and adequate data security to protect Plaintiff’s and the Class’s

23
     PII, and/or compensatory damages.

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 1                                           PRAYER FOR RELIEF

 2          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, prays for a

 3   judgment against Defendants as follows:

 4                 a. For an order certifying the proposed Class, appointing Plaintiff as Representative of the
                      proposed Class, and appointing the law firms representing Plaintiff as counsel for the
 5                    Class;

 6                 b. For compensatory and punitive and treble damages in an amount to be determined at
                      trial;
 7
                   c. Payment of costs and expenses of suit herein incurred;
 8
                   d. Both pre-and post-judgment interest on any amounts awarded;
 9                 e. Payment of reasonable attorneys’ fees and expert fees;
10                 f. Such other and further relief as the Court may deem proper.

11                                       DEMAND FOR JURY TRIAL

12          Plaintiff hereby demands trial by jury.

13
     Dated: January 14, 2025
14
                                       By:        _/s/Brett R. Cohen_________
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24                                                -17-
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 4                                 Counsel for Plaintiff and Proposed Class

 5
                                   Attorneys for Plaintiff & the Putative Class
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